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A

4/3/2019
Case 1:22-cr-00015-APM Document 582-1 Filed 05/15/23 Page 2 of 16

MyQuest"
HARRELSON, KENNETH

DOB: 11/09/1980 Age: 8 Specimen: TM074200N Collected: 04/03/2019 11:22 Client #: 66092197

Sex: M Fasting: N Requisition: 0000972 Received: 04/03/2019 11:23 TURBAY,TAMID A

Phone: (eS Lab Reference ID: 7443CE16615 — Reported: 04/04/2019 00:34 = MHM MEDICAL GROUP
Patient ID: 305 Report Status: FINAL 835 EXECUTIVE LN STE 140

ROCKLEDGE, FL 32955-8068
Phone: (321) 373-0505
Fax: (321) 806-3290

FASTING:NO

CBC (H/H, RBC, INDICES, WBC, PLT)

Analyte Value

WHITE BLOOD CELL COUNT 4.8 Reference Range: 3.8-10.8 Thousand/uL
RED BLOOD CELL COUNT 5.00 Reference Range: 4.20-5.80 Million/uL
HEMOGLOBIN 15.4 Reference Range: 13.2-17.1 g/dL
HEMATOCRIT 45.0 Reference Range: 38.5-50.0 %

MCV 90.0 Reference Range: 80.0-100.0 fL

MCH 30.8 Reference Range: 27.0-33.0 pg

MCHC 34.2 Reference Range: 32.0-36.0 g/dL

RDW 13.2 Reference Range: 11.0-15.0 %
PLATELET COUNT 228 Reference Range: 140-400 Thousand/uL
MPV 10.7 Reference Range: 7.5-12.5 fL

Performing Sites
TP Quest Diagnostics-Tampa, 4225 E Fowler Ave, Tampa, FL 33617-2026 Laboratory Director: Weston H Rothrock MD

Key
® Priority Out of Range A Out of Range

These results have been sent to the person who ordered the tests. Your receipt of these results should not be viewed as medical advice and is not meant to replace discussion with
your doctor or other healthcare professional.

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Diagnostics”

wall

HARRELSON,KENNETH (TM074200N) 1/1 5/7/23
Case 1:22-cr-00015-APM Document 582-1 Filed 05/15/23 Page 3 of 16

4/7/2021
Case 1:22-cr-00015-APM Document 582-1 Filed 05/15/23 Page 4 of 16

LabCorp

Specimen ID: 097-833-5779-0 Acct #: 09610792 Phone: (407) 665-1307 Rte: 44
Control iD: LB102_0039F

Seminole Cty Sheriff- County

HARRELSON, KENNETH 311 BUSH BLVD
ee SANFORD FL 32773
asso re. Dong LE gh] gQUfendyg]Ofg feng glad ang footy pg ggfgqeelytadual | de tpl

Patient Details

DOB: 11/09/1980
Agely/m/d): 040/04/29
Gender: M

Patient ID: 202100001670

Specimen Details
Date collected: {04/07/2021 0650 Local Ordering:J Morency,
Date received: 04/07/2021 Referring:

Date entered: 04/07/2021 ID:

Date reported: 04/08/2021 0812 ET NPI: 1497210272

General Comments & Additional Information
Alternate Control Number: LB102_0039FBDAC

Physician Details

Alternate Patient ID: 202100001670

Ordered Items
CBC With Differential/Platelet; Comp. Metabolic Panel (14)

Bsa oy Op ire

op By.N: LSE UES eS a 3a) cH (Gs IN SV - y-Way

CBC With Differential/Platelet

WBC 8.3 X1LOE3/uL 3.4-10.8 o1
RBC 5.20 X1LOE6/uL 4.14-5.80 O1
Hemoglobin 16.3 g/dL 13.0-17.7 O1
Hematocrit 49.1 % 37.5-51.0 O01
MCV 94 £L 79-97 O01
MCH 31.3 pg 26.6-33.0 O1
MCHC 33.2 g/dL 31.5-35.7 O1
RDW 14.3 % 11.6-15.4 OL
Platelets 181 xX10E3/uL 150-450 01
Neutrophils 42 % Not Estab. Ol
Lymphs 48 % Not Estab. ol
Monocytes 8 % Not Estab OL
Eos 2 % Not Estab O01
Basos 0 % Not Estab. O01
Neutrophils (Absolute) 3.5 X10E3/uL 1.4-7.0 01
Lymphs (Absolute) 4.0 High x10E3/uL OTT o1
Monocytes (Absolute) 0.6 X10E3/uL 0.1-0.9 O1
Eos (Absolute) O.1 X10E3 /uL 0.0-0.4 01
Baso (Absolute) 0.0 x10E3 /uL 0.0-0.2 O1
Immature Granulocytes 0 % Not Estab. O01
Immature Grans (Abs) 0.0 X10E3/uL 0.0-0.1 O1
Comp. Metabolic Panel (14)

Glucose 84 mg/dL 65-99 OL
BUN 15 mg/dL 6-24 OL
Creatinine 1.10 mg/dl 0.76-1.27 O01
eGFR If NonAfricn Am 84 mL/min/1.73 >59

eGFR If Africn Am 97 mL/min/1.73 >59
BUN/Creatinine Ratio 14 9-20

Sodium 142 mmol/L 134-144 O1
Date Issued: 04/17/21 1157 ET FINAL REPORT Page 1 of 2

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SLabCorp

Patient: HARRELSON, KENNETH
Se

Filed 05/15/23 Page 5 of 16

Specimen ID: 097-833-5779-0

DOB: Patient ID: 202100001670 Control ID: LB102_0039F Date collected: 04/07/2021 0650 Local
eM OKSRS) aps Os rely EEN LG 5h eS Sach) cal HIN (Ge I AW ys)
Potassium 4.8 mmol/L 3.5-5.2 O1
Chloride 99 mmol/L 96-106 O1
‘Carbon Dioxide, Total ™ 30 High mmol/L 20-29 ol
Calcium 9.9 mg/dL 8.7-10.2 O01
Protein, Total 6.9 g/dL 6.0-8.5 O1
Albumin 4.5 g/dL 4.0-5.0 OL
Globulin, Total 2.4 g/dL 1.5-4.5
A/G Ratio 1.9 1.2-2.2
Bilirubin, Total <0.2 mg/dL 0.0-1.2 O1
Alkaline Phosphatase 52 IU/L 39-117 o1
AST (SGOT) 118 High IU/L 0-40 01
ALT (SGPT) 85° High IU/L 0-44 01
01 TA LabCorp Tampa Dir: Sean Farrier, MD
5610 W LaSalle Street, Tampa, FL 33607-1770
For inquiries, the physician may contact Branch: 800-877-5227 Lab: 800-877-5227
Date Issued: 04/17/21 1157 ET FINAL REPORT Page 2 of 2

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5/6/2022
Case 1:22-cr-00015-APM Document 582-1 Filed 05/15/23
Harrelson, Kenneth Dos: Saaae Patient Report

Patient ID: 377692 Age: 41 Account Number: 08755665
Specimen ID: 136-184-4411-0 Sex: Male Ordering Physician: R Aidoo -

Page 7 of 16

@ labcorp

Ordered Items: Basic Metabolic Panel (8); Lipid Panel; Hemoglobin Alc

Date Collected: 05/16/2022 Date Received: 05/16/2022 Date Reported: 05/17/2022 Fasting: Not Given

Basic Metabolic Panel (8)

Test Current Result and Flag Previous Result and Date Units Reference Interval
Glucose* 92 84 04/07/2021 mg/db 65-99
BUN® 13 15 04/07/2021 mg/dL 6-24
Creatinine™ 1.05 11 04/07/2021 mg/dL 0.76-1.27
eGFR 91 mL/min/1.73 >59
BUN/Creatinine Ratio 12 14 04/07/2021 9-20
Sodium™ 141 142 04/07/2021 mmol/L 134-144
Potassium” 3.9 4.8 04/07/2021 mmol/L 3.5-5.2
Chloride™ 101 99 04/07/2021 mmol/L 96-106
Carbon Dioxide, Total ™ 25 30 04/07/2021 mmol/L 20-29
Calcium 9.5 9.9 04/07/2021 mg/dL 8.7-10.2
Lipid Panel

Test Current Result and Flag Previous Result and Date Units Reference Interval
Cholesterol, Total® 159 162 06/24/2021 me/dL 100-199
Triglycerides 137 145 06/24/2021 me/dL 0-149

VY HDL Cholesterol” 31 Low 34 06/24/2021 mg/dL >39
VLDL Cholesterol Cal 25 26 06/24/2021 mg/dL 5-40

4 LDL Chol Calc (NIH) 103 High 102 06/24/2021 me/db 0-99

Hemoglobin Alc

Test Current Result and Flag Previous Result and Date Units Reference Intervat

Hemoglobin Alc™

5.6

5.5 2 06/24/2021

%

4,8-5.6

Please Note:

Prediabetes: 5.7 - 6.4
Diabetes: >6.4
Glycemic control for adults with diabetes: <7.@

Disclaimer
The Previous Result is listed for the most recent test performed by Labcorp in the past 5 years where there is sufficient patient demographic data to
match the result to the patient. Results from certain tests are excluded from the Previous Result display.

Icon Legend
A Out of Reference Range [lf Critical or Alert

Performing Labs
01: BN - Labcorp Burlington 1447 York Court, Burlington, NC, 27215-3361 Dir: Sanjai Nagendra, MD
For Inquiries, the physician may contact Branch: 800-859-0391 Lab: 800-762-4344

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Case 1:22-cr-00015-APM Document 582-1
Harrelson, Kenneth Doe; aarti
Patient ID: 377692 Age: 41
Specimen |D: SS62begmmanaae© Sex: Male

Filed 05/15/23
Patient Report

Account Number: 08755665 —_
Ordering Physician: R Aidoo -

Page 8 of 16

Patient Details
Harrelson, Kenneth

Physician Details

R Aidoo -

Correctional Treatment

1901 E Street SE, Washington, DC, 20003

Phone: 377-692-7692

Date of Birth: 11/09/1980 Phone: 202-698-0433

Age: 41 Account Number: 08755665
Sex: Male Physician ID:

Patient ID: 377692 NPI: 1366824385

Alternate Patient ID: 377692

Specimen Details

Specimen ID: 136-184-4411-0

Control ID: 40300758

Alternate Control Number: 40300758
Date Collected: 05/16/2022 0951 Local
Date Received: 05/16/2022 0000 ET
Date Entered: 05/16/2022 2241 ET
Date Reported: 05/17/2022 0935 ET
Rte: ML

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6/24/2021
Case 1:22-cr-00015-APM Document 582-1 Filed 05/15/23 Page 10 of 16

H aes: i -_

arrelson, Kenneth Dos: Patient Report ¢ labcorp
Patient ID: 377692 Age: 40 Account Number: 08755665 =
Specimen ID: 175-184-2310-0 Sex: Male Ordering Physician: A Amankwah

Ordered Items: Lipid Panel; Hemoglobin A1c; Hep B Surface Ab; Hep A Ab, Total

Date Collected:/06/24/2021 Date Received: 06/24/2021 Date Reported: 06/25/2021 Fasting: Not Given

Lipid Panel

Test Current Result and Flag Previous Result and Date Units Reference Interval
Cholesterol, Total™ 162 mg/dL 100-199
Triglycerides” 145 mg/dL 0-149

W HDL Cholesterol” 34 Low mg/dL >39
VLDL Cholesterol Cal 26 mg/dL 5-40

4, LDL Chol Calc (NIH) 102 High mg/dL 0-99

Hemoglobin A1c

Test Current Result and Flag Previous Result and Date Units Reference Interval
Hemoglobin Alc™ 3.5 % 4.8-5.6

Please Note: °"

Prediabetes: 5.7 - 6.4
Diabetes: >6.4
Glycemic control for adults with diabetes: <7.

Hep B Surface Ab
Test Current Result and Flag Previous Result and Date Units Reference Interval
Hep B Surface Ab, Qual™ Non Reactive
Non Reactive: Inconsistent with immunity,
less than 10 mIU/mL
Reactive: Consistent with immunity,
greater than 9.9 mIU/mL
Hep A Ab, Total
Test Current Result and Flag Previous Result and Date Units Reference Interval
D> Hep A Ab, Total” Positive Abnormal Negative
Disclaimer

The Previous Result is listed for the most recent test performed by Labcorp in the past 3 years where there is sufficient patient demographic data to match the
result to the patient.

Icon Legend
4. Out of reference range Critical or Alert

Performing Labs
01: BN - LabCorp Burlington 1447 York Court, Burlington, NC, 27215-3361 Dir: Sanjai Nagendra, MD
For Inquiries, the physician can contact Branch: 800-859-0391 Lab: 800-762-4344

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Case 1:22-cr-00015-APM Document 582-1 Filed 05/15/23 Page 11 of 16

Harrelson, Kenneth vos: 11/09/1980 Patient Report ~-
1 /09/19 atie epo e labcorp
Patient ID: 377692 Age: 40 Account Number: 08755665 —
Specimen ID: 175-184-2310-0 Sex: Male Ordering Physician: A Amankwah
Patient Details Physician Details Specimen Details
Harrelson, Kenneth —__ A Amankwah Specimen ID: 175-184-2310-0
aS cS Sew Ee Sees Correctional Treatment Control ID: 37965725
1901 E Street SE, Washington, DC, 20003 Alternate Control Number: 37965725

Phone: 377-692-7692 Date Collected: 06/24/2021 1119 Local
Date of Birth: 11/09/1980 Phone: 202-698-0433 Date Received: 06/24/2021 0000 ET
Age: 40 Account Number: 08755665 Date Entered: 06/24/2021 2203 ET
Sex: Male Physician ID: Date Reported: 06/25/2021 0935 ET
Patient ID: 377692 NPI: 1598827172 Rte: ML
Alternate Patient ID: 377692

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3/20/2023
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Or U.S. Medical Center for Federal Prisons
Bureau of 1900 W. Sunshine Street
’ Prisons Springfield, MO 65807
417-874-1621
*** Sensitive But Unclassified ***
Name HARRELSON, KENNETH Facility USP Lewisburg Collected 03/20/2023 09:01 EDT
Reg # 34096-509 Order Unit C02-219L Received 03/21/2023 10:22 EDT
DOB 11/09/1980 Provider Jessie Ayers, PA-C Reported 03/21/2023 14:35 EDT
Sex ™M LIS ID 074231373
\ CHEMISTRY }
Sodium 142 136-145 rmol/L.
Potassium 44 3.5-5.1 mmol/L
Chloride 103 98-107 mmol/l.
Carbon Dioxide H 30 22-29 mmol/L.
Urea Nitrogen (BUN) 16 6-20 mg/dl.
Creatinine = 1.07 0.67-1.17 mg/dL
aGFR (CKO-EP] 2021) >60

GFR unlis measured as mL/min/1,.73m*2
A calculated GFR <60 suggests chronic kidney disease if found over a 3 month period.

Caiclum 9.7 8.6-10.0 mg/dL
Glucose H 159 74-106 mg/dL.
AST H 42 10-40 UA.
ALT H 77 8-44 UiL.
Alkaline Phosphatase 73 40-129 U/L
Bilirubin, Total 0.3 <={.2 mg/dL
Protein, Total 7.2 6,6-8.7 g/dL.
Albumin 45 3.5-6.2 gidl.
Globulin 2.8 2.0-3.7 g/dl.
Albumin/Globulin Ratio 1.63 1.00-2.30

Anion Gap 9.0 9.0-19.0

BUN/Creatinine Ratio 14.2 §.0-30.0

Cholesterol, Total 153 <200 mg/dl.
Triglycerides 134 <=150 mo/dl
HDL Cholesterol L 28 40-60 mo/dl
LDL-Cholesterol 98 <=130 mo/di
Chol/HDLC Ratio H §.§ 0.0-4.0

| SPECIAL CHEMISTRY __
TSH 2.65 0.27-4.20 ulU/mL
| HEMATOLOGY __]

White Blood Cell Count 5.1 4,3-11.1 K/ul
Red Blood Cell Count 4.68 4.46-6.78 M/uL
Hemoglobin 14.4 13.6-17.6 g/dl
Hematocrit 44.2 40.2-51.4 %
MCV 94.4 82.5-96.5 fL.
MCH 30.8 27.1-34.9 pg
MCHC L 32.6 33.0-37.0 g/dL.

FLAG LEGEND _L=Low Li=Low Critical H=High HI=High Critical A=Abnormal Al =Abnormal Critical
‘ Page 1 of 3

Case 1:22-cr-00015-APM Document 582-1 Filed 05/15/23 Page 14 of 16

é Report Status: Final
@ Ques
S! Diagnostics’ HARRELSON, KENNETH
| Patient Information Specimen Information Client Information |
> Collected: 03/20/2023 / 09:01 EDT AYERS, JESSIE
DOB: 11/09/1980 AGE: 42 Received: 03/21/2023 /01:57 EDT
Gender. M Reported: 03/26/2023 / 03:28 EDT
Patient ID: 34096-509
HCV RNA, QUANTITATIVE REAL TIME PCR <15 NOT DETECTED NOT DETECTED IU/mt. 299
HCV RNA, QUANTITATIVE REAL TIME PCR | <4.48NOT DETECTED | NOT DETECTED Log !U/mL z99

This test was performed using Real-Time Polymerase Chain Reaction.
Reportable Range: 15 [U/mL to 100,000,000 IU/mL (1.18 Log IU/mL to 8.00 Log IU/mL).

only.)

The analytical performance characteristics of this assay have been determined by Quest Diagnostics. The modifications have not been cleared or approved by
the FDA. This assay has been validated pursuant fo the CLIA regulations and is used for clinical purposes.

For more information on this test, go to: http://education.questdiagnostics.com/faq/FAQ22v1 (This link is being provided for informational/ educational purposes

Physician Comments:

PERFORMING SITE:

AMD QUEST DIAGNOSTICS/NICHOLS CHANTILLY, 14225 NEWBROOK DRIVE, CHANTILLY, VA 20151-2228 Laboratory Director: PATRICK W. MASON,MD,PHD, CLIA: 49D0221801
Z99 QUEST DIAGNOSTICS CLIFTON, 1 INSIGHTS DRIVE, CLIFTON, NJ 07012-2355 Laboratory Director: PETER E. FISHER,MD, CLIA: 31D0696246

LIST OF RESULTS PRINTED IN THE OUT OF RANGE COLUMN:
TESTOSTERONE, TOTAL, MS 249 L

For additional information, please refer to
http: //education.questdiagnostics.com/faq/
TotalTestosteroneLCMSMSFAQ165

(This link is being provided for informational/
educational purposes only.)

This test was developed and its analytical performance
characteristics have been determined by Quest
Diagnostics Nichols Institute Chantilly, VA. It has
not been cleared or approved by the U.S. Food and Drug
Administration. This assay has been validated pursuant
to the CLIA regulations and is used for clinical

purposes.
TESTOSTERONE , BIOAVAILABLE 96.1 L
CLIENT SERVICES: 866.697.8378 _ SPECIMEN: CF586743Q

250-1100 ng/dL AMD
110,0-575.0 ng/dL AMD
PAGE 2 OF 2

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e Quest Fee Report Status: Final
oe. Diagnostics HARRELSON, KENNETH
Patient Information Specimen Information Client Information
HARRELSON, KENNETH Specimen: CF586743Q Client #: 17837043 WI050000
Requisition: 3719111 AYERS, JESSIE
DOB «= CAGEE: 422 Lab Ref#: 074231373 USP LEWISBURG
Gender: M Collected: 03/20/2023 / 09:01 EDT on KEVIN PIGOS,MD
Phone: NG Received: 03/21/2023 /01:57 EDT et ee
Patient ID: 34096-509 Reported: 03/26/2023 / 03:28 EDT LEWISBURG, PA 17837-6850
Test Name In Range Out Of Range Reference Range Lab
TESTOSTERONE, FREE, BIOAVAILABLE AND TOTAL, MS
TESTOSTERONE, TOTAL, MS 249 L 250-1100 ng/dL AMD
For additional information, please refer to
http: //education.questdiagnostics.com/faq/
TotalTestosteroneLCMSMSFAQI165
(This link is being provided for informational/
educational purposes only.)
This test was developed and its analytical performance
characteristics have been determined by Quest
Diagnostics Nichols Institute Chantilly, VA. It has
not been cleared or approved by the U.S. Food and Drug
Administration. This assay has been validated pursuant
to the CLIA regulations and is used for clinical
purposes.
TESTOSTERONE, FREE AND AMD
BIOAVAILABLE
TESTOSTERONE, FREE 46.7 46.0-224.0 pg/mL
TESTOSTERONE , BIOAVAILABLE 96.1 1L 110.0-575.0 ng/dL
SEX HORMONE BINDING = 16-80 wus /e ae
GLOBULIN ~ nm
ALBUMIN 4.5 3.6-5.1 g/dL AMD
PAGE I OF 2

CLIENT SERVICES: 866.697.8378

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SPECIMEN: CF586743Q
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U.S. Medical Center for Federal Prisons
1900 W. Sunshine Street
Springfield, MO 65807
417-874-1621

*** Sensitive But Unclassified ***

Name HARRELSON, KENNETH Facility USP Lewisburg Collected 03/20/2023 09:01 EDT
Reg # 34096-509 Order Unit C02-219L Received 03/21/2023 10:22 EDT
DOB 11/09/1980 Provider Jessie Ayers, PA-C Reported 03/21/2023 14:35 EDT
Sex M LIS ID 074231373
\ HEMATOLOGY |
RDW-CV 13.4 12.0-14.0 %
Platelet Gount 237 130-374 K/uL
MPV H 11.3 6.9-10.5 fl
HEMOGLOBIN A1C
Hemoglobin A1C HH? 5.7 <5.7 ‘ %
5.7 - 6.4 increased Risk ,
> 6.4 Diabetes
| HEPATITIS
Hepatitis B Surface Antigen Non-Reactive Non-Reactive
oe B Surface Antibody Negative Negative
Hepatitis B Core Ab Total Non-Reactive Non-Reactive
Hepatitis C Antibody Non-Reactive Non-Reactive
FLAG LEGEND L=Low LI=Low Critical H=High HI=High Critical A=Abnormal Al =Abnormal Critical

Page 2 of 3
